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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  In Re: Flint Water Cases                   Case No. 5:16-cv-10444-JEL-MKM
                                             Hon. Judith E. Levy

                                             Magistrate Judge Mona K. Majzoub


      CO-LIAISON COUNSEL’S REPLY IN FURTHER SUPPORT OF THE
           MOTION TO DISQUALIFY ATTORNEY MARK CUKER

        Mr. Cuker raises many irrelevant issues which do not warrant a response and

 is meant to draw attention away from Mr. Cuker’s disqualifying conflict of interest.

 Much of Mr. Mark Cuker’s opposition to Co-Liaison Counsel’s Motion to

 Disqualify Attorney Mark Cuker (hereinafter called “the Motion to Disqualify”)

 (Dkt. No. 2045) consists of belabored rants as to why he believes the settlement

 should not have been finally approved and his own complaints with the bone lead

 testing, complaints which have already been thoroughly addressed by this Court.

 Accordingly, this reply will only address the issue at hand, i.e., Mr. Cuker’s conflict

 of interest in simultaneously representing objectors and non-objectors to the

 Settlement.

                                     ARGUMENT

 I.     CO-LIAISON COUNSEL HAVE STANDING

        The notion that only a current or former client has exclusive standing to move

 for disqualification of counsel due to a conflict of interest is not absolute. “A motion
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 to disqualify counsel is the proper method of a party to bring an alleged breach of

 ethical duties to the court’s attention.” Allstate Ins. Co. v. Inscribed PLLC, Civil

 Action No. 19-13721, 2021 U.S. Dist. LEXIS 219621, at *18 and *19 (E.D. Mich.

 Nov. 15, 2021), (quoting DeBiasi v. Charter County of Wayne, 284 F. Supp. 2d 760,

 770 (E.D. Mich. 2003)), (the court granted counsel of defendants’ motion to

 disqualify plaintiff Allstate’s counsel). In Allstate, the court held that counsel were

 well within their rights to bring a motion to disqualify because “federal courts have

 inherent powers to supervise the conduct of attorneys practicing before them, and

 vital interests in protecting the integrity of their judgments, maintaining public

 confidence in the integrity of the bar, eliminating conflicts of interest, and protecting

 confidential communications between attorneys and their clients." Id at *19 (quoting

 Com. Ins. Co. v. Graphix Hot Line, Inc., 808 F. Supp. 1200, 1203 (E.D. Pa. 1992)),

 (internal quotation marks omitted).

       While disqualification of counsel can be a drastic measure, “federal courts

 have a strong interest in preserving the integrity of its proceedings, and protecting

 the truth-seeking function of the proceedings,” Allstate Ins. Co. v. Inscribed PLLC,

 at *20 (E.D. Mich. Nov. 15, 2021), (quoting Essex Cty. Jail Annex Inmates v.

 Treffinger, 18 F. Supp. 2d 418, 439 (D.N.J. 1998), and "the paramount concern must

 be the preservation of public trust both in the scrupulous administration of justice

 and in the integrity of the bar, so the recognizably important right to choose


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 one's counsel must yield to the ethical considerations that embody the moral

 principles of our judicial process." Id. at 20, (quoting Kinchen v. Brennan, No.

 CV1810311PADFMX, 2020 U.S. Dist. LEXIS 88186, 2020 WL 2374947, at *1

 (C.D. Cal. Mar. 17, 2020)) (internal quotation marks omitted).

       Further, the Eastern District of Michigan has held that under Michigan Rule

 of professional Conduct (“MRPC”) 1.7, counsel can raise the conflict issue even

 though he or she does not have a prior attorney-client relationship. See Health All.

 Plan of Mich. v. Blue Cross Blue Shield of Mich. Mut. Ins. Co., No. 14-13788, 2015

 U.S. Dist. LEXIS 131168, at *6, *7, and *8 (E.D. Mich. Sep. 29, 2015) (the court

 held that defense counsel could in fact raise the conflict issue even though it had no

 prior attorney-client relationship with plaintiff’s firm).

       Not only does Mr. Cuker’s actions violate MRPC 1.7, but they also interfere

 with the administration of justice because his unfounded objections to this settlement

 has delayed the process for tens of thousands of Flint residents who registered for

 the settlement, including 980 of his own clients. Mr. Cuker’s assumption that the

 absence of objections does not equate to endorsement of the settlement has

 absolutely no bearing on the conflict-of-interest issue. Further, Mr. Cuker failed to

 respond to the expert report of Mr. Robert E. Hirshon, nor has he distinguished his

 conflict from that of Mr. Fieger which was addressed by Judge Farah. Mr. Cuker has

 not demonstrated why he should not be disqualified as counsel, and his opposition


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 is simply a restatement of his objections to the settlement which the Court has

 already addressed.

 II.   A CONFLICT WAS NOT CREATED BY THE SETTLEMENT TERMS
       AND MR. CUKER IS IN VIOLATION OF THE MICHIGAN RULES
       OF PROFESSIONAL CONDUCT
       The terms of the settlement were negotiated at great length and under the

 oversight of court-appointed mediators. Mr. Cuker once again argues that the terms

 are unfair because they favor those who have undergone bone scan tests. Not only

 was this argument addressed by the Court in the Opinion and Order Approving the

 Settlement (ECF No. 2008), but bone scan accessibility has no bearing as to whether

 Mr. Cuker’s violated MRPC 1.7. In Health All. Plan of Mich. v. Blue Cross Blue

 Shield of Mich. Mut. Ins. Co., No. 14-13788, 2015 U.S. Dist. LEXIS 131168 (E.D.

 Mich. Sep. 29, 2015), the court denied defense counsel’s motion to disqualify, but

 without prejudice pending plaintiff’s counsel seeking consent from all the clients

 involved. See Id. at *14. Mr. Cuker alleges a great deal but provides very little

 evidence concerning his clients’ consent to his conflict of interest. Mr. Cuker cannot

 avoid his ethical duties owed to his clients and to the legal profession. The Sixth

 Circuit and the Eastern District of Michigan have consistently held that an attorney

 cannot represent an individual opposed to a settlement and an individual in favor of

 the same settlement because that creates at “ethical quagmire.” See Moulton v.

 United States Steel Corp., 581 F.3d 344, 354 (6th Cir. 2009) (the court also opined


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 that the clients who would have to be dropped by the attorney in conflict would be

 adequately represented by court-approved class counsel); See also El Camino Res.,

 LTD. v. Huntington Nat'l Bank, 623 F. Supp. 2d 863 (W.D. Mich. 2007); See also

 Judge Farah’s June 10, 2021 Order in In Re Flint Water Litigation, Case No. 17-

 108646. In addition to prejudicing the rights of his clients, Mr. Cuker’s actions delay

 justice for all the other registered claimants by continuously objecting to the

 settlement.

                                   CONCLUSION

       For the foregoing reasons, the Court should grant Co-Liaison Counsel’s

 Motion to Disqualify Mr. Cuker from the litigation, and for such other and further

 relief that the Court deems just and proper.


                                                Respectfully submitted,

 Dated: January 3, 2022

                                                NAPOLI SHKOLNIK

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                                                Co-Liaison Counsel for the Individual
                                                Cases

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                          CERTIFICATE OF SERVICE

       I hereby certify that on January 3, 2022, the foregoing was electronically filed

 with the Clerk of the Court using the CM/ECF system which will send notification

 of such filing upon counsel of record.




 Dated: January 3, 2022

                                               _____/s/ Patrick J. Lanciotti_____




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